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                             UNITED STATES DISTRICT COURT FOR
                                 THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                             )
                                                      )
                               Plaintiff,             )       8:11CR39
                                                      )
                       vs.                            )       FINAL ORDER OF
                                                      )       FORFEITURE
CHRISTIAN FLORES,                                     )
                                                      )
                               Defendant.             )


       This matter comes on before the Court upon the United States’ Motion for Final Order of

Forfeiture (Filing No. 68). The Court reviews the record in this case and, being duly advised in the

premises, finds as follows:

       1. On October 3, 2011, the Court entered a Preliminary Order of Forfeiture pursuant to the

provisions of Title 21, United States Code, Sections 846 and 853 based upon the Defendant’s plea

of guilty to Count I and the Forfeiture Allegation of the Indictment filed herein. By way of said

Preliminary Order of Forfeiture, the Defendant’s interest in $1,942.00 in United States Currency

was forfeited to the United States.

       2. Notice of Criminal Forfeiture was posted on an official internet government forfeiture

site, www.forfeiture.gov, for at least thirty consecutive days, beginning on October 5, 2011, as

required by Rule G(4)(a)(iii)(B) of the Supplemental Rules for Admiralty or Maritime Claims and

Asset Forfeiture Actions. A Declaration of Publication was filed herein on December 16, 2011

(Filing No. 67).

       3. The Court has been advised by the United States no Petitions have been filed. From a

review of the Court file, the Court finds no Petitions have been filed.

       4. The Plaintiff’s Motion for Final Order of Forfeiture should be sustained.
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       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The Plaintiff’s Motion for Final Order of Forfeiture is hereby sustained.

       B. All right, title and interest in and to the $1,942.00 in United States Currency held by any

person or entity are hereby forever barred and foreclosed.

       C. The $1,942.00 in United States Currency be, and the same hereby is, forfeited to the

United States of America.

       D. The United States is directed to dispose of said property in accordance with law.

       DATED this 20th day of January, 2012.


                                                     BY THE COURT:


                                                     s/ Joseph F. Bataillon
                                                     United States District Court Judge




                                                 2
